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           ORAL ARGUMENT NOT YET SCHEDULED

             UNITED STATES COURT OF APPEALS
         FOR THE DISTRICT OF COLUMBIA CIRCUIT
____________________________________
                                    )
CITY UTILITIES OF SPRINGFIELD, )
MISSOURI BY AND THROUGH             )
THE BOARD OF PUBLIC                 )
UTILITIES,                          )
                                    )
                     Petitioner,    ) No. 24-1200
                                    ) (and consolidated cases)
v.                                  )
                                    )
U.S. ENVIRONMENTAL                  )
PROTECTION AGENCY, et al.,          )
                                    )
                     Respondents.   )
____________________________________)

 RESPONDENTS’ AND RESPONDENT-INTERVENORS’ JOINT
   PROPOSAL ON BRIEFING SCHEDULE AND FORMAT

     In response to this Court’s order on November 1, 2024 (ECF No.

2083243), Respondents and Respondent-Intervenors submit this joint

proposal on briefing schedule and format.

     These consolidated petitions challenge EPA’s final rule titled

“Hazardous and Solid Waste Management System: Disposal of Coal

Combustion Residuals From Electric Utilities; Legacy CCR Surface

Impoundments,” 89 Fed. Reg. at 38950 (May 8, 2024).




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      All parties agree on the proposal for briefing deadlines that is set

out below. Petitioners disagree with Respondents and Respondent-

Intervenors on the appropriate word limits, so Petitioners are filing a

separate proposal on word limits.

I.    Briefing Schedule

      All parties agree on the following proposal for briefing deadlines:

     Filing             Deadline            Interval
     Petitioners’       January 31, 2025    77 days from November
     opening brief(s)                       15, 2024 briefing proposal
     Respondents’       April 18, 2025      77 days
     brief
     Respondent-        May 2, 2025         14 days
     intervenors’
     brief
     Petitioners’       June 2, 2025        45 days from
     reply brief(s)                         Respondents’ brief
     Deferred           June 9, 2025        7 days
     appendix
     Final briefs       June 23, 2025       14 days, Fed. R. App. P
                                            30(c)(2)(B)

      Petitioners have represented that an opening-brief deadline of

January 31, 2025 is necessary due to other deadlines for Petitioners’

counsel. This proposed schedule allows Respondents a response period

that is equal to the interval between this briefing proposal and

Petitioners’ opening brief(s).



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II.   Word Limits

      Respondents and Respondent-Intervenors propose the following

word limits, which allow 21,000 total words for each side’s principal

briefs.

      Filing                 Word Limit
      Petitioners’ opening   21,000 words total, divided among
      brief(s)               Petitioners
      Respondents’ brief     21,000 words
      Respondent-            14,700 words (70% of opening brief(s),
      intervenors’ brief     consistent with Circuit Rule
                             32(e)(2)(B))
      Petitioners’ reply     10,500 words total, divided among
      brief(s)               Petitioners (50% of opening brief(s),
                             consistent with Fed. R. App. P.
                             32(a)(7)(B)(ii))

      This proposal is reasonable considering this Court’s briefing

orders in other recent matters. Recent cases involving EPA regulations

of similar or greater complexity have allowed opening briefs that total

21,000 or fewer words for multiple petitioner groups. E.g., Order,

Kentucky v. EPA, No. 24-1087 (D.C. Cir. July 17, 2024), ECF No.

2065237 (allowing a total of 21,000 words for eight consolidated

petitions challenging EPA’s rule setting vehicle emission standards);

Order, Kentucky v. EPA, No. 24-1050 (D.C. Cir. May 14, 2024), ECF No.

2054255 (allowing a total of 19,500 words for five consolidated petitions


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challenging EPA’s rule setting national air-quality standards); Order,

Western States Trucking Ass’n v. EPA, No. 23-1143 (D.C. Cir. Sept. 19,

2023), ECF No. 2017811 (allowing a total of 18,900 words for six

consolidated petitions challenging EPA’s waiver of preemption allowing

for enforcement of California heavy-duty motor vehicle regulations);

Order, Texas v. EPA, No. 22-1031 (D.C. Cir. Aug. 11, 2022), ECF No.

1959030 (allowing a total of 21,000 words for seven consolidated

petitions challenging EPA’s rule setting vehicle emission standards).

     In consolidated challenges to complex EPA regulations, this Court

has routinely given each group of petitioners a word limit that is less

than that of a standard-length brief. E.g., Order, Sinclair Wyoming

Refining Co. v. EPA, No. 22-1210 (D.C. Cir. Feb. 1, 2023), ECF No.

1984205 (9,100 words for obligated-party petitioners and 9,100 words

for biofuels petitioners); Order, RFS Power Coalition v. EPA, No. 20-

1046 (D.C. Cir. Oct. 26, 2020), ECF No. 1868039 (9,100 words for

obligated-party petitioners and 9,100 words for biofuels petitioners);

Order, Growth Energy v. EPA, No. 19-1023 (D.C. Cir. Aug. 20, 2019),

ECF No. 1802964 (9,100 words for obligated-party petitioners; 9,100




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words for biofuels petitioners; and 7,800 words for environmental

petitioners).

         As noted above, the proposed length of Respondent-Intervenors

brief is consistent with Circuit Rule 32(e)(2)(B), which sets a word limit

for an intervenor’s principal brief that is 70 percent of the word limit for

a Petitioner’s opening brief. The requested 14,700 words is 70 percent of

the overlength word limit that Respondents and Respondent-

Intervenors propose for Petitioners’ opening brief and Respondents’

brief.

         Petitioners have represented that they need 32,000 words for their

opening brief(s), and Petitioners have attempted to justify that need by

estimating that there are multiple issues that require 8,000 words to

address. Petitioners’ proposal is unreasonable. Petitioners overestimate,

by thousands of words, the word counts necessary to brief certain

issues. After all, a standard brief, which can often address multiple

complex issues, is limited to 13,000 words. Fed. R. App. P. 32(a)(7)(B)(i).

Petitioners’ proposal would allow for opening briefs that are almost 2.5

times the length of a standard brief. Judicial economy is best served by




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limiting the principal briefs to no more than 21,000 words, which is still

significantly overlength.

                                  * * *

     For the above reasons, the Court should enter a briefing order

based on Respondents’ and Respondent-Intervenors’ proposal.


                                  Respectfully submitted,

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                                  Assistant Attorney General

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                     CERTIFICATE OF SERVICE

     On November 15, 2024, I filed the foregoing using the Court’s

CM/ECF system, which will electronically serve all counsel of record

registered to use the CM/ECF system.

                                 /s/ Tsuki Hoshijima


                 CERTIFICATE OF COMPLIANCE

     This document complies with the word limit of Federal Rule of

Appellate Procedure 27(d)(2) because, excluding the parts of the

document exempted by Rule 32(f), it contains 771 words. This document

complies with the typeface and type-style requirements of Rule 32(a)(5)

and (6) because it was prepared in a proportionately spaced typeface

using Microsoft Word in Century Schoolbook fourteen-point font.

                                          /s/ Tsuki Hoshijima




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